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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 14-15V
                                     Filed: January 15, 2016

* * * * * * * * * * * * * * * *                           UNPUBLISHED
MELVIN MCGINNIS,                              *
                                              *           Special Master Hamilton-Fieldman
               Petitioner,                    *
                                              *           Joint Stipulation on Damages;
v.                                            *           Influenza (“Flu”) Vaccine;
                                              *           Disorder of immune and
SECRETARY OF HEALTH                           *           neurological systems.
AND HUMAN SERVICES,                           *
                                              *
               Respondent.                    *
* * * * * * * * * * * * * * * *
Danielle A. Strait, Maglio Christopher and Toale, PA, Washington, D.C., for Petitioner.
Lisa A. Watts, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION1

        On January 6, 2014, Melvin McGinnis (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered on October 25, 2011 caused
him to develop an “injury and disorder of his immune and neurological systems.” Petition
(“Pet.”), ECF No. 1, at 1-3.

       On January 15, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Stipulation, ECF No. 44. Respondent denies that the
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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flu vaccine caused Petitioner’s condition or any other injury. However, the parties agree to the
joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that Petitioner shall receive the following compensation:

           1. A lump sum of $972,302.71, which amount represents compensation for first
              year life care expenses ($134,029.58), lost earnings ($584,499.13), pain and
              suffering ($250,000.00), and past unreimbursable expenses ($3,774.00), in the
              form of a check payable to Petitioner; and

           2. An amount sufficient to purchase the annuity contract described in
              paragraph 10 of the Stipulation, paid to the life insurance company from
              which the annuity will be purchased.

       Stipulation ¶ 8.

        The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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